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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 14-MC-24887-LOUIS

  IN RE APPLICATION OF
  HORNBEAM CORPORATION

  REQUEST FOR DISCOVERY PURSUANT
  TO 28 U.S.C. § 1782
  ____________________________________/

               HALLIWEL ASSETS, INC. AND PANIKOS SYMEOU’S REPLY
                 IN SUPPORT OF MOTION TO PRODUCE AND UNSEAL
                     APPLICANT HORNBEAM’S EX PARTE FILING

         Halliwel Assets, Inc. and Panikos Symeou (“Intervenors”) submit this Reply in support of

  their motion to produce and unseal the August 21, 2019 ex parte filing (the “Ex Parte Filing”),

  ECF 338, of Applicant Hornbeam Corporation (“Hornbeam”) and Intervenors Vadim Shulman

  and Bracha Foundation (collectively the “Hornbeam Parties”).

  I.     INTRODUCTION

         The Hornbeam Parties rely on nothing to support keeping the Ex Parte Filing secret, other

  than the Ex Parte Filing itself which is alien to American jurisprudence. Contrary to the allegations

  of the Hornbeam Parties, Intervenors’ arguments based upon the general prohibition against ex

  parte filings and the common law/First Amendment right to access judicial documents are not

  “false premises,” but well-settled law. In any event, (1) the Ex Parte Filing should be produced

  because the Hornbeam Parties have not met their extraordinary burden to permit ex parte filings

  with the Court; and (2) the Ex Parte Filing should be unsealed because the Hornbeam Parties have

  not met their heavy burden for sealing and this Court never made the required on-the-record

  findings for sealing.
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  II.     ARGUMENT

          A.      THE HORNBEAM PARTIES CANNOT RELY UPON THE EX PARTE
                  FILING ITSELF TO JUSTIFY KEEPING IT SECRET

          The Hornbeam Parties cannot rely upon the Ex Parte Filing itself to justify keeping it

  secret. Nor, can they solely rely upon it to argue it is not a merits related filing.

          First, the Hornbeam Parties’ position is untenable because “our adversarial legal system

  generally does not tolerate ex parte determinations on the merits of a civil case ... The right to due

  process encompasses the individual’s right to be aware of and refute the evidence against the merits

  of his case.” See Vining v. Runyon, 99 F.3d 1056, 1057 (11th Cir. 1996). The Hornbeam Parties

  do not contest the proposition that American jurisprudence does not allow, support or condone

  secret court filings especially without justification or explanation to the opposing party. Indeed,

  the Hornbeam Parties do not cite a single case authorizing an ex parte filing based upon the

  document itself. Such a position is mere bootstrapping. Intervenors have no way to test and argue

  against the need for the Ex Parte Filing because they have been provided no basis at all as to why

  the filing was done ex parte and how it met the extraordinary circumstances necessary under

  Vining to justify an ex parte filing.

          Second, the Hornbeam Parties asserted no evidentiary, privilege or national security issues,

  the only generally acceptable grounds for an ex parte filing. Nor did they contest this Court

  ordered no ex parte communications are permitted.            See e.g., Order Amending Stipulated

  Protective Order (“ASPO”) dated October 24, 2018 (ECF No. 286).

          Third, the Hornbeam Parties do not contest the Ex Parte Filing is relevant to determining

  whether the Responsive Materials should be destroyed or if they were improperly disseminated –

  merits issues in this case. Their claim that the Ex Parte Filing was not a “merits”-related filing




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  denies Intervenors’ – and Subpoena Respondents’1 – procedural rights to challenge what is

  presumptively adverse to their interests in this case. Further, the claim also strains credulity

  because the Hornbeam Parties obviously filed the Ex Parte Filing for a reason, and it was in their

  interest to do so. The Hornbeam Parties have provided no basis as to what the filing was for and

  obviously it must have been related to a pending matter before the Court.

           B.     THE HORNBEAM PARTIES FAILED TO DEMONSTRATE GOOD
                  CAUSE TO JUSTIFY SEALING

           With respect to having the filing sealed and non-public, the Hornbeam Parties argue

  nothing other than that based upon the Ex Parte Filing, they “demonstrated good cause for the ex

  parte filing the moment [they] filed” it. This is nonsense.

           First, the Hornbeam Parties do not – and cannot – dispute that they failed to comply with

  S.D. Fla. L.R. 5.4(b)(3) which requires that a motion “set forth the factual and legal basis for

  departing from the policy that Court filings be public.” Id. The Rule also required them to

  “describe the proposed sealed filing with as much particularity as possible without revealing the

  confidential information and specify[ing] the proposed duration of the requested sealing.” Id.

  Here, the Hornbeam Parties did neither, and flatly refused to disclose any details regarding the Ex

  Parte Filing.

           Second, the Hornbeam Parties do not – and again cannot – dispute that the Court made no

  required, on-the-record findings to justify sealing. See United States v. Ochoa-Vasquez, 428 F.3d

  1015, 1030 (11th Cir. 2005) (orders sealing specific documents violated First Amendment

  standards “because no finding was made on the record to rebut the presumption of openness”). No

  case relied upon by the Hornbeam Parties upholds sealing documents from a party to the case, or

  the public, without full briefing and on-the-record findings by the court. See Nixon v. Warner


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      Subpoena Respondents joined Intervenors’ Motion. See ECF 346.


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  Commc’ns, 435 U.S. 589, 603 (1978) (holding Presidential records not subject to public inspection

  because “Congress has created an administrative procedure for processing and releasing to the

  public”); Perez-Guerrero v. United States AG, 717 F.3d 1224 (11th Cir. 2013) (allowing sealing

  portions of the record from the public, but not the parties, concerning information related to the

  petition for asylum by family members who provided information about Mexican drug cartels to

  the United States); In re Knoxville News-Sentinel Co., 723 F.2d 470, 471 (6th Cir. 1983) (allowing

  removal from court records of financial records protected by the Right to Financial Privacy Act,

  12 U.S.C. §§3401-3421, but with no denial of access to parties in the case).

  III.   CONCLUSION

         For the reasons set forth above, the Motion should be denied and the Hornbeam Parties

  should be ordered to produce the Ex Parte Filing (ECF 338) unsealed.

  Dated: November 12, 2019
                                                       Respectfully submitted,

                                                       REED SMITH LLP
                                                       1001 Brickell Bay Drive, 9th Floor
                                                       Miami, Florida 33131
                                                       Tel.: (786) 747-0200
                                                       Fax.: (786) 747-0299

                                                       /s/ Sujey S. Herrera
                                                       Edward M. Mullins
                                                       Fla. Bar No. 863920
                                                       Email: emullins@reedsmith.com
                                                       Sujey Herrera
                                                       Fla. Bar No. 92445
                                                       Email: sherrera@reedsmith.com

                                                       MARKS & SOKOLOV, LLC
                                                       1835 Market Street, 17th Floor
                                                       Philadelphia, PA 19103
                                                       Tel: (215) 569-8901

                                                       /s/ Bruce Marks
                                                       Bruce Marks



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                                                      Email: marks@mslegal.com
                                                      Thomas Sullivan
                                                      Email: tsullivan@mslegal.com

                                                      Attorneys for Panikos Symeou and
                                                      Halliwel Assets Inc.



                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on November 12, 2019 a true and correct copy of the foregoing

  was served electronically using the Court’s CM/ECF system on all participants in this case.



                                                          /s/ Sujey S. Herrera
                                                             Sujey S. Herrera, Esq.




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